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 8

 9                                UNITED STATES DISTRICT COURT

10                               CENTRAL DISTRICT OF CALIFORNIA
11   UNITED STATES OF AMERICA,                          Case No.: 8:09-CR-00248-DOC
12
     Plaintiff,
13   vs.
     KAREN MARKOSIAN,                                   MEMORANDUM OF LAW IN SUPPORT
14                                                      OF MOTION TO VACATE, SET ASIDE, OR
     Defendant-Movant.                                  CORRECT SENTENCE PURSUANT TO 28
15                                                      U.S.C. § 2255
16

17           Karen Markosian (“Markosian”), by and through the undersigned counsel, respectfully

18   submits this Memorandum of Law in Support of Motion to Vacate, Set Aside, or Correct
19
     Sentence Pursuant to 28 U.S.C. § 2255. In support thereof, Markosian offers the following:
20
                                           I. INTRODUCTION
21
             Markosian waived his right to trial by jury and proceeded to a nine-day bench trial
22

23   before this Honorable Court based upon the advice of his attorney, Mr. James P. Cooper, III.

24   However, Markosian had no intention of contesting his guilt. Markosian followed trial counsel’s
25
     advice to proceed to trial solely to preserve a legal challenge to two counts of aggravated
26
     identity theft.
27

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 1          Markosian was subsequently sentenced to a term of 259 months imprisonment. On
 2
     appeal before the Ninth Circuit, appellate counsel raised numerous issues related to the
 3
     Guideline calculations, but failed to adequately brief the argument related to Markosian’s
 4
     conviction on the aggravated identity theft counts.
 5

 6          Markosian now argues that trial counsel’s advice with respect to the advantages and

 7   disadvantages of pleading guilty versus proceeding to trial was erroneous, and but for counsel’s
 8
     misadvice Markosian would have agreed to plead guilty. Further, appellate counsel’s failure to
 9
     adequately brief the legal argument related to the two counts of aggravated identity theft on
10
     appeal essentially rendered Markosian’s decision to proceed to trial moot. For the reasons
11

12   discussed below, Markosian is entitled to relief under 28 U.S.C. § 2255.

13                                         II. BACKGROUND
14
            On October 12, 2011, a federal grand jury sitting in the Central District of California
15
     returned a 105-count Second Superseding Indictment against 14 defendants. Markosian was
16
     charged with the following: Count One–Conspiracy to Commit Bank Fraud, in violation of 18
17

18   U.S.C. § 1349; Counts Twenty-Four, Twenty-Five, Thirty and Thirty-One–Attempted Bank

19   Fraud, in violation of 18 U.S.C. § 1344, and Counts Fifty-Four and Fifty-Nine–Aggravated
20
     Identity Theft, in violation of 18 U.S.C. § 1028A. (Docket Entry “DE” 403).
21
            On October 24, 2011, Markosian entered a not guilty plea to all counts of the Second
22
     Superseding Indictment. (DE 343). Trial was then set for February 22, 2012. On January 31,
23

24   2012, Markosian filed a motion to dismiss Counts Fifty-Four and Fifty-Nine. (DE 539).

25   Markosian argued that fraudulent checks are not “access devices” under 18 U.S.C. § 1028A;
26
     therefore, the aggravated identity theft charges contained in the Indictment did not allege a
27
     federal offense and must be dismissed. Id. The United States filed its Response in Opposition on
28   MEMORANDUM OF LAW IN SUPPORT OF MOTION TO VACATE, SET ASIDE, OR CORRECT
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 1   February 7, 2012. (DE 553). On February 9, 2012, the Court denied Markosian’s motion to
 2
     dismiss.
 3
            On February 22, 2012, Markosian waived his right to trial by jury and elected to proceed
 4
     with a court trial. (DE 574). Trial concluded on March 16, 2012, with the Court finding
 5

 6   Markosian guilty of Counts One, Twenty-Five, Fifty-Four and Fifty-Nine of the Second

 7   Superseding Indictment. (DE 634). Markosian submitted a motion for new trial based on
 8
     insufficiency of the evidence. (DE 639). Markosian’s motion also renewed his legal challenge
 9
     to the validity of the aggravated identity theft charges. Id.
10
            Prior to sentencing, the Probation Office prepared the Presentence Investigation Report
11

12   (“PSR”) in this matter. Using the 2009 Guidelines Manual, the PSR found Markosian’s

13   Guidelines calculations as to Counts One and Twenty-Five to be as follows:
14
            Base Offense Level (U.S.S.G. § 2B1.1(a)(1))                              7
15          Loss Between $7 Million and $20 Million (§ 2B1.1(b)(1)(K))             +20
            Over 250 Victims (§ 2B1.1(b)(2)(C))                                     +6
16          Sophisticated Means (§ 2B1.1(b)(10)(C))                                 +2
            Aggravated Role (§ 3B1.1(b))                                            +3
17

18          Total Offense Level                                                     38

19   Counts Fifty-Four and Fifty-Nine mandated a 24-months sentence to be imposed consecutively
20
     to Counts One and Twenty-Five. Markosian’s Offense Level of 38, combined with a Criminal
21
     History Category I, yielded a Guideline range of 235 to 293 months. With the inclusion of the
22
     consecutive sentence under § 1028A, Markosian’s Guideline range was determined to be 259 to
23

24   317 months imprisonment.

25          Markosian objected to the PSR’s loss findings, and the enhancements for number of
26
     victims, sophisticated means, and aggravated role. (DE 839). Further, Markosian objected to the
27
     omission of a two-level reduction for acceptance of responsibility under U.S.S.G. § 3E1.1. (DE
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 1   839 at 17). Markosian also submitted a handwritten letter to the Court admitting his guilt and
 2
     culpability in the offense. (DE 839-1).
 3
            Markosian appeared for sentencing on December 3, 2012. The Court heard additional
 4
     argument on Markosian’s motion for new trial, then proceeded to deny the motion. (Sentencing
 5

 6   Tr. at 7). The Court then took up the remaining objections to the PSR. Relevant to the instant

 7   motion, counsel argued that Markosian was entitled to a two-level reduction for acceptance of
 8
     responsibility, notwithstanding Markosian’s decision to proceed to trial. In support of his
 9
     argument, Mr. Cooper explained that “Mr. Markosian, although he went to trial, he has never
10
     actually denied his culpability . . . . And at trial, Your Honor, he presented a very minimal
11

12   defense.”) (Sentencing Tr. at 15). Mr. Cooper further relayed:

13          And what I pointed out in my sentencing memorandum is that part of that was that once
            he went to trial for whatever personal reason, one reason for waiving jury and doing a
14
            court trial was to preserve the legal issue concerning the aggravated identity theft charge,
15          because a guilty plea would waive his appellate issues surrounding the legal sufficiency
            of the charge.
16
     (Sentencing Tr. at 16).
17

18          After hearing counsel’s arguments, the Court proceeded to overrule all objections and

19   adopted the Guideline calculations of the PSR. (Sentencing Tr. at 22). In response to counsel’s
20
     argument regarding acceptance of responsibility, the Court stated:
21
            The Court declines to award any benefit or sympathy to you concerning a two-level
22          reduction because of the Court trial. You could have just as easily pled, and therefore,
            you’re not entitled to acceptance of responsibility, regardless of your willingness and
23
            need to perfect your record for appellate purposes.
24
     (Sentencing Tr. at 34).
25
            The Court sentenced Markosian to a term of 259 months imprisonment. The term
26

27   consists of 235 months on Counts One and Twenty-Five, to be served concurrently, and a term

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 1   of 24 months on Counts Fifty-Four and Fifty-Nine, to be served concurrently with each other
 2
     and consecutively to the remaining counts. (DE 894). Markosian filed his notice of appeal on
 3
     December 7, 2012. (DE 899).
 4
            On appeal before the Ninth Circuit, Markosian raised six grounds for consideration: 1)
 5

 6   whether the Court erred in calculating the loss under the Guidelines; 2) whether the Court erred

 7   in calculating the number of victims; 3) whether the Court erred in applying the sophisticated
 8
     means enhancement; 4) whether the Court erred in applying a role enhancement; 5) whether the
 9
     Court erred in denying a reduction for acceptance of responsibility; and 6) whether the case
10
     should be remanded to a different District Court Judge. Included in a footnote in Markosian’s
11

12   fifth argument was the following:

13          In the district court Markosian moved to dismiss Counts 54 and 59 on the grounds that
            the means of identification element of the Aggravated Identity Theft crime, 18 U.S.C. §
14
            1028A cannot be a forged check because a forged check is not an access device under 18
15          U.S.C. § 1028(e)(1) citing United States v. Hughey, 147 F.3d 423, 436 (5th Cir. 1998).
            In order to preserve the issue, appellant now asks the court to reverse Counts 54 and 59
16          on the grounds urged in the district court.
17
     United States v. Markosian, No. 12-50568 (Appellant’s Opening Brief, Dkt No. 19, at 54 n. 2).
18
            The Ninth Circuit ultimately rejected Markosian’s arguments, and affirmed his sentence
19
     on December 24, 2015. United States v. Markosian, 637 Fed. Appx. 289 (9th Cir. 2015). The
20

21   court’s opinion did not address Markosian’s request to reverse his convictions on Counts Fifty-

22   Four and Fifty-Nine. Id. On February 8, 2016, Markosian sought rehearing and rehearing en
23
     banc on three grounds: 1) whether the U.S. Sentencing Commission’s. amendment to U.S.S.G.
24
     § 2B1.1 is applicable to Markosian’s case; 2) whether the court failed to adequately address
25
     Markosian’s argument regarding the number of victims; and 3) whether a defendant is
26

27   responsible for relevant conduct under the Guidelines for losses that occur after the defendant

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 1   exists the conspiracy. The Ninth Circuit denied Markosian’s request for rehearing on September
 2
     21, 2016. The Supreme Court subsequently denied Markosian’s petition for writ of certiorari on
 3
     January 23, 2017. Markosian v. United States, 137 S.Ct. 839 (2017).
 4
            This motion follows.
 5

 6                                          III. TIMELINESS

 7          Markosian’s judgment of conviction became final on January 23, 2017, the date on
 8
     which United States Supreme Court denied Markosian’s petition for writ of certiorari. This
 9
     motion is timely pursuant to 28 U.S.C. § 2255(f)(1) if filed on or before January 23, 2018.
10
                                     IV. STANDARD OF REVIEW
11

12          Claims of ineffective assistance of counsel are governed by the familiar two-prong test

13   of Strickland v. Washington, 466 U.S. 668 (1984). To prove ineffective assistance, a defendant
14
     must show (1) deficient performance, and (2) prejudice. Id. at 687. Prejudice is shown through a
15
     reasonable probability of a different outcome. Id. In the context of plea proceedings, the
16
     Supreme Court has held that the Strickland test applies to advice given by counsel in the context
17

18   of guilty plea discussions. Hill v. Lockhart, 474 U.S. 52, 58 (1985); see also Smith v. Mahoney,

19   611 F.3d 978, 986 (9th Cir. 2010). In Lafler v. Cooper, 132 S.Ct. 1376, 1387 (2012), the Court
20
     further expanded guilty plea ineffective by stating:
21
            If a plea bargain has been offered, a defendant has the right to effective assistance of
22          counsel in considering whether to accept it. If that right is denied, prejudice can be
            shown if loss of the plea opportunity led to a trial resulting in a conviction on more
23
            serious charges or the imposition of a more severe sentence.
24
     Id.
25

26

27

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 1                                            V. ARGUMENT
 2
            (a)     Trial Counsel Was Ineffective For Advising Markosian To Proceed With
 3                  Bench Trial To Preserve A Challenge To The Aggravated Identity Theft
                    Counts
 4
            The record in this matter clearly demonstrates Markosian’s motive for persisting in his
 5

 6   not guilty pleas and proceeding to trial before the Court––to preserve the legal challenge to

 7   Counts Fifty-Four and Fifty-Nine of the Second Superseding Indictment which charged
 8
     Markosian with aggravated identity theft in violation of 18 U.S.C. § 1028A. Based on the
 9
     advice of counsel, Markosian persisted with trial despite the fact that Markosian had informed
10
     Mr. Cooper of his guilt and accepted culpability for his actions. (Decl. of Markosian ¶ 3)1.
11

12          After conviction, Mr. Cooper submitted his Sentencing Memorandum which detailed the

13   reason for Markosian proceeding to trial, “he wanted to preserve his legal challenge to the
14
     aggravated identity theft charges.” (DE 839 at 18). In addition, counsel’s own words at
15
     sentencing were that Markosian “never actually denied his culpability” and “presented minimal
16
     defense [at trial].” (Sentencing Tr. at 15).
17

18          It is perplexing that Markosian would have proceeded to trial after admitting culpability

19   and having minimal defense simply to preserve a challenge to two counts of the Second
20
     Superseding Indictment. It is axiomatic that “[d]efendants have a Sixth Amendment right to
21
     counsel, a right that extends to the plea-bargaining process. During plea negotiations defendants
22
     are ‘entitled to the effective assistance of competent counsel.’” Lafler v. Cooper, 132 S.Ct. 1376,
23

24   1384 (2012) (citations omitted). Further, “it is the responsibility of defense counsel to inform a

25   defendant of the advantages and disadvantages of a plea agreement . . . .” Libretti v. United
26
     1
27          Attached is an unsigned declaration. A signed declaration will be provided to the Court
     forthwith.
28   MEMORANDUM OF LAW IN SUPPORT OF MOTION TO VACATE, SET ASIDE, OR CORRECT
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 1   States, 516 U.S. 29, 50-51 (1995).
 2
             Markosian avers that he rejected the Government’s plea offer and proceeded to trial
 3
     under the advice of counsel so that he could maintain his appellate rights and further his
 4
     challenge to Counts Fifty-Four and Fifty-Nine. (Decl. of Markosian ¶ 5). However, there are
 5

 6   numerous issues with trial counsel’s advice regarding Markosian’s decision whether to plead

 7   guilty or proceed to trial. Had Markosian been properly advised, he would have either accepted
 8
     the Government’s plea offer or proceeded to enter an “open” plea to the charges. (Decl. of
 9
     Markosian ¶ 6-8).
10
             First, Markosian did not contest his guilt. He did, however, have concerns regarding the
11

12   extent of his culpability. (Decl. of Markosian ¶ 3). According to Markosian, he was informed

13   that the only way to challenge the extent of his participation in the offense would be through
14
     trial. (Decl. of Markosian ¶ 4-5). This was incorrect. Many of the issues Markosian sought to
15
     challenge were sentencing factors, such as relevant conduct and his role in the offense. A guilty
16
     plea would not have prevented Markosian from making such arguments at sentencing. And
17

18   where a plea agreement may have limited the scope Markosian’s challenges on appeal,

19   Markosian could have just as easily entered an open plea to the charges and maintained his full
20
     appellate rights.2
21
             As to maintaining Markosian’s challenge to the aggravated identity theft counts, a guilty
22
     plea may have foreclosed further challenge of the validity of those counts. See United States v.
23

24
     2
            Although the Court found Markosian not guilty of Attempted Bank Fraud in Counts
25
     Twenty-Four, Thirty, and Thirty-One, Markosian submits that a guilty plea on all counts would
26   have resulted in the same Guideline calculations as those counts would have been grouped
     together the same with Counts One and Twenty-Five.
27

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 1   Jackson, 697 F.3d 1141, 1144 (9th Cir. 2012) (a guilty plea waives right to appeal non-
 2
     jurisdictional, antecedent defects). However, it would have been far more advantageous for
 3
     Markosian to have sought the full benefit of a reduction for acceptance of responsibility by
 4
     timely entering a guilty plea.
 5

 6          Counts Fifty-Four and Fifty-Nine carried a mandatory 24-month consecutive sentence,

 7   which raised Markosian’s Guideline range to 259 to 317. Had Markosian been successful in
 8
     challenging the validity of those counts, he would still have been facing a Guideline range of
 9
     235 to 293 months. But had counsel advised Markosian to pursue a reduction for acceptance of
10
     responsibility, Markosian would have been facing a far less severe sentence even with the
11

12   consecutive 24-month sentence.

13                                          Total Offense Level                Guideline Range
14
        Markosian’s Guideline                        38                            259-317
15      Range
        Range Without Aggravated                     38                            235-293
16      Identity Theft Counts
17
        Range With Aggravated
        Identity Theft Count and                     36                            212-259
18      With -2 for Acceptance
        Range With Aggravated
19      Identity Theft Count and                     35                            192-234
20      With -3 for Acceptance

21          As shown in the chart above, a two-level decrease for acceptance of responsibility–with
22
     the mandatory 24-month consecutive sentence–would have still reduced Markosian’s Guideline
23
     range to 212 to 259. Had Markosian entered a timely guilty plea and received the full three
24
     levels off, his range would have been 192 to 234 months.
25

26          Basic arithmetic would have shown that Markosian could have benefited far more from

27   entering a timely guilty plea rather than proceeding to trial with the hope of later vacating his
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 1   24-month consecutive sentence. And counsel’s failure to advice Markosian accordingly was
 2
     deficient performance. Yet, Markosian must still show that he would have pled guilty but for
 3
     counsel’s ineffectiveness. Lafler v. Cooper, 566 U.S. 156, 174 (2012).
 4
            As Markosian has sworn, had he been properly advised by trial counsel, he would have
 5

 6   agreed to plead guilty. (Decl. of Markosian ¶ 8). This contention is supported by the fact that

 7   Markosian had also agreed to pled guilty in two other cases, United States v. Markosian, 1:10-
 8
     cr-895-24 (S.D.N.Y.) (guilty plea entered Jan. 7, 2014); and United States v. Markosian, 2:11-
 9
     cr-00072-17 (C.D. Cal.) (guilty plea entered June 24, 2013).
10
            Based on the foregoing, Markosian submits that trial counsel was ineffective in advising
11

12   Markosian to proceed to trial rather than pleading guilty. But for counsel’s ineffectiveness,

13   Markosian would have pled guilty. Moreover, there is at least a reasonable probability that
14
     Markosian would have received a lesser sentence had he entered a timely guilty plea.
15
            (b)     Appellate Counsel Was Ineffective For Failing To Adequately Brief The
16                  Aggravated Identity Theft Issue On Appeal
17
            As discussed above, Markosian’s primary motivation for proceeding to trial was to
18
     preserve his challenge to Counts Fifty-Four and Fifty-Nine of the Second Superseding
19
     Indictment for appellate review. Yet, appellate counsel failed to adequately brief this issue on
20

21   appeal for consideration by the Ninth Circuit.

22          Appellate counsel’s opening brief stated six issues for review. Five claims related to the
23
     calculation of the Guidelines, and the sixth issue discussed whether remand to a different
24
     District Court Judge was appropriate. Counsel did discuss the aggravated identity theft issue in
25
     his brief, but buried the issue in a footnote and offered no argument to further the claim. Instead,
26

27   appellate counsel simply noted:

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 1

 2
            In the district court Markosian moved to dismiss Counts 54 and 59 on the grounds that
 3          the means of identification element of the Aggravated Identity Theft crime, 18 U.S.C. §
            1028A cannot be a forged check because a forged check is not an access device under 18
 4          U.S.C. § 1028(e)(1) citing United States v. Hughey, 147 F.3d 423, 436 (5th Cir. 1998).
            In order to preserve the issue, appellant now asks the court to reverse Counts 54 and 59
 5
            on the grounds urged in the district court.
 6
     United States v. Markosian, No. 12-50568 (Appellant’s Opening Brief, Dkt No. 19, at 54 n. 2).
 7
            Not surprisingly, the Ninth Circuit did not address this argument in its opinion affirming
 8

 9   Markosian’s conviction and sentence. This is so because the argument was inadequately

10   briefed:
11
            Federal Rule of Appellate Procedure 28(a)(6) provides: “The argument must contain the
12          contention of the appellant on the issues presented, and the reasons therefor, with
            citations to the authorities, statutes, and parts of the record relied on. ….” FRAP 28(a)(6).
13          Issues raised in a brief that are not supported by argument are deemed abandoned.
            Acosta-Huerta v. Estelle, 7 F.3d 139, 144 (9th Cir. 1992). Furthermore, an issue referred
14
            to in the appellant’s statement of the case but not discussed in the body of the opening
15          brief is deemed waived. Simpson v. Union Oil Co., 411 F.2d 897, 900 n. 2 (9th Cir.),
            rev’d on other grounds, 396 U.S. 13, 90 S.Ct. 30, 24 L.Ed.2d 13 (1969).
16
     Martinez-Serrano v. I.N.S., 94 F.3d 1256, 1259 (9th Cir. 1996).
17

18          Appellate counsel was aware that Markosian’s intention for proceeding to trial was to

19   preserve this very issue. Yet, counsel failed to adequately and meaningfully argue this issue on
20
     appeal, ultimately leaving the entire argument by the wayside and rendering Markosian’s
21
     decision to proceed to trial moot. In addition, had appellate counsel effectively argued this issue,
22
     there stands a reasonable probability that Markosian would have succeeded in vacating his
23

24   conviction on Counts 54 and 59. Although it ultimately disagreed, this Court found trial

25   counsel’s argument on the matter was “very well written.” (Sentencing Tr. at 4).
26
            Markosian must only show “a probability sufficient to undermine confidence in the
27
     outcome.” Strickland v. Washington, 466 U.S. at 694. Here, appellate counsel provided little to
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 1   no argument at all in support of Markosian’s contention that Counts 54 and 59 of the Second
 2
     Superseding Indictment did not amount to a federal offense. Had counsel adequately briefed the
 3
     matter, including documentation and citations in support of the argument, there stood at least a
 4
     “reasonable probability” of a different outcome on appeal.
 5

 6                                    VI. EVIDENTIARY HEARING

 7          Pursuant to 28 U.S.C. § 2255, “[u]nless the motion and the files and records of the case
 8
     conclusively show that the prisoner is entitled to no relief, the court shall . . . grant a prompt
 9
     hearing thereon, determine the issues and make findings of fact and conclusions of law with
10
     respect thereto.” 28 U.S.C. § 2255(b). Here, Markosian has alleged cognizable claims that are
11

12   supported by the record. Therefore, the Court should promptly schedule this matter for an

13   evidentiary hearing.
14
                                            VII. CONCLUSION
15
            Based on the foregoing, Markosian is entitled to 28 U.S.C. § 2255 relief.
16
     Dated: January 23, 2018
17

18

19                                                  By:     /s/ Jeremy Gordon
                                                            Jeremy Gordon
20
                                                            Counsel Pro Hac Vice for Markosian
21

22

23

24

25

26

27

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